         Case 1:21-mc-91718-RGS Document 1 Filed 12/03/21 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


IN RE SUBPOENA DUCES TECUM TO                              MBD No. 1:21-mc-91718
CERENCE, INC.


___________________________________________

VB ASSETS, LLC,                                            C.A. No. 1:19-cv-01410-MN
                                                           (District of Delaware)
                      Plaintiff,


                      v.


AMAZON.COM, INC., AMAZON.COM LLC,
AMAZON WEB SERVICES, INC., A2Z
DEVELOPMENT CENTER, INC. d/b/a LAB126,
RAWLES LLC, AMZN MOBILE LLC, AMZN
MOBILE 2 LLC, AMAZON.COM SERVICES, INC.
f/k/a AMAZON FULFILLMENT SERVICES, INC.,
and AMAZON DIGITAL SERVICES LLC,

                      Defendants.


                      MOTION TO COMPEL THIRD PARTY DISCOVERY


       Pursuant to Rule 37(a)(2) and 45(d)(2)(B)(i) of the Federal Rules of Civil Procedure,

Defendants Amazon.com, Inc., Amazon.com LLC, Amazon Web Services, Inc., A2Z

Development Center, Inc. d/b/a Lab126, Rawles LLC, AMZN Mobile LLC, AMZN Mobile 2

LLC, Amazon.com Services, Inc. f/k/a Amazon Fulfillment Services, Inc., and Amazon Digital

Services LLC (collectively, “Amazon”) respectfully move this Court for an Order compelling third

party Cerence Inc. (“Cerence”) to comply with a Rule 45 subpoena and produce specific

documents and communications relevant to the patent case that Plaintiff VB Assets, LLC (“VB



                                                   1
          Case 1:21-mc-91718-RGS Document 1 Filed 12/03/21 Page 2 of 4




Assets”) filed against Amazon in VB Assets, LLC v. Amazon.com, Inc. et al, Case No. 1:19-cv-

01410-MN (D. Del.) (the “Litigation”).

       As grounds for this motion, Amazon relies on the Memorandum of Law in support of this

motion and the Declarations of Vigen Salmastlian, Min Wu, and David Greenbaum submitted

herewith. Amazon seeks to file portions of the Memorandum as well as the Declaration of David

Greenbaum and its Exhibits 1-4 under seal because they contain confidential information pursuant

to a protective order issued in the Litigation. Amazon will submit to the Court and serve upon

counsel an unredacted, confidential version of the papers after the opening of this miscellaneous case.



                                 REQUEST FOR ORAL ARGUMENT

       Amazon believes that oral argument will assist the Court in deciding this motion and,

therefore, Amazon respectfully requests oral argument.




                                                      2
        Case 1:21-mc-91718-RGS Document 1 Filed 12/03/21 Page 3 of 4




Dated: December 3, 2021                Respectfully submitted,

                                       /s/ Alison C. Casey__________
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                                        3
          Case 1:21-mc-91718-RGS Document 1 Filed 12/03/21 Page 4 of 4




             CERTIFICATE PURSUANT TO LOCAL RULES 7.1(a)(2) AND 37.1(b)

        I, Vigen Salmastlian, certify that counsel for Amazon have made a reasonable and good
faith effort to reach agreement with counsel for Cerence, Inc. on the issues and matters set forth in
this motion through meetings, conferences, and several follow-up email communications but have
been unable to come to a resolution on such issues.


                                                      /s/ Vigen Salmastlian_________


                                 CERTIFICATE OF SERVICE

        I certify that on December 3, 2021 this document, filed through the ECF system, will be
sent electronically to the parties or their counsel who are registered participants as identified on
the Notice of Electronic Filing and that copies will be served on those non-registered participants.




                                                      /s/ Alison C. Casey




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